






MEMORANDUM OPINION

No. 04-06-00489-CR


Kale D. PATTON,

Appellant


v.

The STATE of Texas,

Appellee

From the 226th Judicial District Court, Bexar County , Texas

Trial Court No. 2006-CR-5508W

Honorable Sid L. Harle, Judge Presiding



PER CURIAM

            

Sitting: Sandee Bryan Marion , Justice

  Phylis J. Speedlin, Justice

  Rebecca Simmons, Justice



Delivered and Filed: September 13, 2006



DISMISSED

 Defendant Kale D. Patton pled nolo contendere to aggravated robbery, and was sentenced within the terms of a plea
bargain.  Defendant timely filed a general notice of appeal. The trial court's Certification of Defendant's Right of Appeal
states: "the defendant has waived the right of appeal" and that this "is a plea-bargain case, and the defendant has NO right of
appeal."  See Tex. R. App. P. 25.2(a)(2).  The clerk's record contains a written plea bargain and a written waiver of appeal,
and the punishment assessed did not exceed the punishment recommended by the prosecutor and agreed to by defendant;
therefore, the trial court's certification accurately reflects that defendant waived his right to appeal and that defendant's case
is a plea bargain case and defendant does not have a right of appeal.  See  Tex. R. App. P. 25.2(a)(2).

 Rule 25.2(d) provides, "The appeal must be dismissed if a certification that shows the defendant has the right of appeal has
not been made part of the record under these rules."  Tex. R. App. P. 25.2(d).  Accordingly, on August 4, 2006, this court
issued an order stating this appeal would be dismissed pursuant to Rule 25.2(d) unless an amended trial court certification
that shows appellant has the right of appeal was made part of the appellate record.  See Daniels v. State,110 S.W.3d 174
(Tex. App.--San Antonio 2003, order); Tex. R. App. P. 25.2(d); 37.1.  No amended trial court certification has been filed;
therefore, this appeal is dismissed.



       PER CURIAM



     

DO NOT PUBLISH



 






